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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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BLACK LOVE RESISTS IN THE RUST, et al.
                                                  FIRST SUPPLEMENTAL
              Plaintiffs,                    RESPONSES TO PLAINTIFFS’ FIRST
                                          SET OF REQUESTS FOR PRODUCTION
                     -vs-                  TO DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT CITY

OF BUFFALO, N.Y.” based on information available as of the date prescribed herein.


                                GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.

       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation
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operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


        REQUEST NO. 41: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about any Checkpoint established by the Strike Force or Housing Unit.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 42: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

related to alleged racial profiling, bias or discrimination by the BPD.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,




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the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


       REQUEST NO. 43: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally on in writing

related to BPD traffic stops, traffic ticketing, and/or other traffic enforcement practices.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003639-COB003841 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 44: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about traffic safety, including but not limited to requests from the public for increased

traffic enforcement.

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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003639-COB003841 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 45: All Documents and Communications relating to any

analysis, evaluation, review, recording, or study of Checkpoints, including the race,

ethnicity, national origin or other demographic data of individuals who drove through

and/or were stopped at Checkpoints and the extent to which such Checkpoints

enhanced or detracted from traffic safety.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.



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